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             UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF FLORIDA
                    OCALA DIVISION
WALTER EARNEST,

      Plaintiffs,

v.                                                       Case No. 5:23-CV-00339

LAKE SAUNDERS POINTE
HOMEOWNERS ASSOCIATION INC.,

     Defendants.
___________________________


     DEFENDANT’S NOTICE OF PENDENCY OF OTHER ACTIONS

      In accordance with Local Rule 1.07(c), I certify that the instant action:

       IS           related to pending or closed civil or criminal case(s) previously
                    filed in this Court, or any other Federal or State court, or
                    administrative agency as indicated below:


X    IS NOT         related to any pending or closed civil or criminal case filed with
                    this Court, or any other Federal or State court, or administrative
                    agency.

      I further certify that a copy of this Notice of Pendency of Other Actions will

be served upon each party no later than fourteen days after appearance of the party.

      DATED this 31st day of July 2023.


                                  Respectfully submitted,
                                  /s/ Jessica DeBono Anderson
                                  JESSICA DEBONO ANDERSON
                                  LEAD COUNSEL
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